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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




 Timothy King, et al.,

                                    Plaintiff(s),

 v.                                                     Case No. 2:20−cv−13134−LVP−RSW
                                                        Hon. Linda V. Parker
 Gretchen Whitmer, et al.,

                                    Defendant(s).




                                   CERTIFICATE OF SERVICE

    I hereby certify that a copy of the Notice(s) of Appeal filed in this case and this Certificate
 of Service was served upon:

                     United States Court of Appeals for the Sixth Circuit
                     Potter Stewart U.S. Courthouse
                     100 East Fifth Street, Fifth Floor
                     Cincinnati, OH 45202−3988

 and all interested parties, by electronic means or first class U.S. mail, on December 10, 2020.




                                                    DAVID J. WEAVER, CLERK OF COURT


                                                By: s/ S. Schoenherr
                                                    Deputy Clerk


 Dated: December 10, 2020
